Case 1:20-cr-O0008-MKB Document 113-1 Filed 03/21/23 Page 1 of 2 PagelD #: 961

From: a

Sent: 9/10/2017 11:36:59 AM
Subject: MA Wb. DELETE THIS AFTER THE CALL FYI.

Steven/Carlo..... numbers very very very very very off
Steven apologies... he will fix it for us
Presale market is wacky

couple choices

can cancel Za Secondary market repercussions for canceling

3M cutting to 2M --- from = Secondary market repercussions for canceling

.. biggest fund ever

mz - a into A told them they only have a couple days... pissed off J who runs
ee a talked aboutlii going a is $3.8M. WB ceded the respect. They
will hate [ED HEE pissed off at the project until Steven fixed =

. After market is very important.

Noe

— wd

an

Alchemist might end up with no tokens... :(

I. a project --- Steven pushing hard to use as the project for the
ne the COINSORTIUM project. Would like to be considered a founding

member.
This is all perception. Elevating our status.

tO

2

... Alchemist got us a crazy advisor board. We got the buzz. a. adding in 800-1,000 coin holders.
This is huge (Pre-Sale/Hub Sale) Distributed.

1. a . cap is $100M) is doing well.

2. Need to reserve a bit for >>>>> for a: for >>> We need to give to them. +++ also ll Also

o a. attorney) said he's behind figuring out a way to get BB an ico platform. And for the

to be there.
3

The final suggestion.... We need to make it with $20M... is what he says.... (context setting by Steven).
1. Alchemist give back all their Tokens > and have only ETH. ----> > come up with a new ratio ("Fair") ...... 22.5%

give back (of , then what we do to the ETH (22.5% ) ----- > We should get back to them wa amiibet:
vallet right away.... as long as we have the resources....

ae. is a partner with the Pe 1§.222?? >> TMI (don't tell them we know this). *******

TBD on what the Deal term is with them, top is 7%.....?? Whatever number they come back with, go back to
and ask to help negotiate a better deal. can talk to Steven... Smart guys. .... Ok........

tO

Think about it backwards. = what funds do we really need to accomplish what we need. $50M was a reach /
realistic number.

Alchemist is giving back 22.5% in STORM:
1) part 1 = give ETHER for TOkens at some ratio for them

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2) part 2 £ frisroee ellinaboumee 3 ce (0 go ask for lla rom is fiubs directo Steven: saul like
the option to decide.

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